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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §   CASE NO. 1:05-CR-136(4)
                                                 §
YONGUE JOHN GROGAN                               §


                      MEMORANDUM ORDER ADOPTING
                  RECOMMENDATION ON MOTION TO SUPPRESS
               EVIDENCE SEIZED PURSUANT TO SEARCH WARRANT

       Pending before the Court is Defendant’s Motion to Suppress Evidence Seized Pursuant to

Search Warrant [Clerk’s doc. #198]. The Court referred the motion to the Honorable Keith F.

Giblin, United States Magistrate Judge, at Beaumont, Texas, for hearing and consideration pursuant

to 28 U.S.C. § 636(b)(1)(A) and the Local Rules for the United States District Court for the Eastern

District of Texas.

       Having conducted the proceedings in the form and manner prescribed by the Federal Rules

of Criminal Procedure, the magistrate judge issued his Report and Recommendation on Defendant’s

Motion to Suppress Evidence Seized Pursuant to Search Warrant [Clerk’s doc. #213]. Judge Giblin

recommended that the Court deny Defendant’s Motion to Suppress Evidence Seized Pursuant to

Search Warrant.

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       Defendant filed objections to the magistrate judge’s recommendation. See Defendant’s

Objections [Clerk’s doc. #231]. In the Objections, Defendant specifically objects to the magistrate’s

ultimate finding that the search warrant and accompanying affidavit at issue was supported by

probable cause. The Defendant argues that he can, in fact, establish that the affidavit supporting the

search warrant at issue lacks indicia of probable cause. See Objections. Defendant further argues

that the affidavit at issue was “boilerplate” and, therefore, a “bare bones” affidavit, lac king in the

proper indicia of probable cause. Id.

         Pursuant to Defendant’s request and in accordance with 28 U.S.C. § 636(b)(1), the Court

conducted a de novo review of the magistrate’s findings, the record, the relevant evidence,

Defendant’s specific objections, and the applicable law in this proceeding. After review, the Court

is of the opinion that the Report and Recommendation [Clerk’s doc. #213] should be accepted.

Defendant’s objections are overruled.

       Accordingly, Judge Giblin’s Report and Recommendation on Defendant’s Motion to

Suppress Evidence Seized Pursuant to Search Warrant [Clerk’s doc. #213] is ADOPTED by the

Court. The factual findings and legal conclusions of the magistrate are therefore fully incorporated

by the undersigned in support of this order. The Court ORDERS that Defendant’s Motion to

Suppress Evidence Seized Pursuant to Search Warrant [Clerk’s doc. #198] is DENIED.


        SIGNED this the 9 day of May, 2006.




                                        ____________________________
                                        Thad Heartfield
                                        United States District Judge


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